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                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE:                                                 CASE NO. 22-56104-wlh

 BRITTNEY ANGELETTE WARNER,                             CHAPTER: 13

                Debtor.                                 JUDGE: WENDY L. HAGENAU

 PENNYMAC LOAN SERVICES, LLC,                           CONTESTED MATTER

                Movant,
 v.

 BRITTNEY ANGELETTE WARNER, Debtor
 ANDREA Y WARNER, Co-Debtor
 NANCY J. WHALEY, Trustee,

                Respondent(s).


                                    NOTICE OF HEARING

        PLEASE TAKE NOTICE that PennyMac Loan Services, LLC has filed a Motion to
Confirm There is No Stay in Effect as to Movant and Certain Real Property, or Alternatively for
Relief from the Automatic Stay and the Co-Debtor Stay and related papers with the Court seeking
an Order Confirming There is No Stay in Effect as to Movant and Certain Real Property, or
Alternatively Granting Relief from the Automatic Stay and the Co-Debtor Stay.

        PLEASE TAKE FURTHER NOTICE that the Court will hold an initial telephonic
hearing for announcements on the Motion at the following number: (toll-free number: 833-568-
8864; meeting id 161 202 1574, at 10:45 A.M., on January 4, 2023 in Courtroom 1403, United
States Courthouse, 75 Ted Turner Drive SW, Atlanta, GA 30303.

       Matters that need to be heard further by the Court may be heard by telephone, by video
conference, or in person, either on the date set forth above or on some other day, all as determined
by the Court in connection with this initial telephonic hearing. Please review the “Hearing
Information” tab on the judge’s webpage, which can be found under the “Dial-in and Virtual
Bankruptcy Hearing Information” link at the top of the webpage for this Court,
www.ganb.uscourts.gov for more information.

       NOTICE TO CO-DEBTOR: This Motion seeks relief from the co-debtor stay pursuant
to 11 USC Section 1301. If you do not file and serve a written objection to this Motion within 20
days from the date this Motion was filed, the Motion may be granted and the co-debtor stay may
be terminated. Objections shall be filed with the Clerk, U.S. Bankruptcy Court, at the address
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shown in the next paragraph, and shall be served by U.S. Mail on the undersigned attorney whose
name and address appear at the end of this notice.

         NOTICE TO DEBTOR: Your rights may be affected by the Court’s ruling on these
pleadings. You should read these pleadings carefully and discuss them with your attorney, if you
have one in this bankruptcy case. (If you do not have an attorney, you may wish to consult one.)
If you do not want the Court to grant the relief sought in these pleadings, or if you want the Court
to consider your views, then you and/or your attorney must attend the hearing. You may also file
a written response to the pleading with the Clerk at the address stated below, but you are not
required to do so. If you file a written response, you must attach a certificate stating when, how,
and on whom (including addresses) you served the response. Mail or deliver your response so that
it is received by the Clerk at least two business days before the hearing. The address of the Clerk’s
Office is: Clerk, U.S. Bankruptcy Court, 75 Ted Turner Drive SW, Room 1340, Atlanta, GA
30303. You must also mail a copy of your response to the undersigned at the address stated below.

        If a hearing on the motion for relief from the automatic stay cannot be held within thirty
(30) days, Movant waives the requirement for holding a preliminary hearing within thirty days of
filing the motion and agrees to a hearing on the earliest possible date. Movant consents to the
automatic stay remaining in effect until the Court orders otherwise.



 Dated: December 7, 2022

                                                       Evan Durkovic, Bar No.: 948332
                                                       Attorney for Movant
                                                       Aldridge Pite, LLP
                                                       Fifteen Piedmont Center
                                                       3575 Piedmont Road, N.E., Suite 500
                                                       Atlanta, GA 30305
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                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE:                                                 CASE NO. 22-56104-wlh

 BRITTNEY ANGELETTE WARNER,                             CHAPTER: 13

                Debtor.                                 JUDGE: WENDY L. HAGENAU

 PENNYMAC LOAN SERVICES, LLC,                           CONTESTED MATTER

                Movant,
 v.

 BRITTNEY ANGELETTE WARNER, Debtor
 ANDREA Y WARNER, Co-Debtor
 NANCY J. WHALEY, Trustee,

                Respondent(s).


      MOTION TO CONFIRM THERE IS NO STAY IN EFFECT AS TO MOVANT AND
      CERTAIN REAL PROPERTY, OR ALTERNATIVELY FOR RELIEF FROM THE
                 AUTOMATIC STAY AND THE CO-DEBTOR STAY

       COMES NOW Movant named above and shows this Court the following:

       1.      This Motion is made to confirm there is no stay in effect as to Movant and certain

real property described below, or alternatively for relief from the automatic stay pursuant to

Section 362(d) of the Bankruptcy Code and for relief from the co-debtor stay pursuant to Section

1301(c) of the Bankruptcy Code, for all purposes allowed by law and the contract, including, but

not limited to, the right to foreclose on certain real property by a private power of sale contained

in a certain Security Deed.

       2.      Movant is the holder or the servicer of a loan secured by a recorded Security Deed

on certain real property. Said real property is security for a Promissory Note, and is commonly

known as 817 Tallowtree Lane, McDonough, Georgia 30252 (the “Property”).

       3.      Debtor is not a party to the Promissory Note nor the Security Deed, and otherwise
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has no personal liability to Movant.

      4.       Upon information and belief, Debtor has no legal or equitable interests in the

Property, other than that the Property is Debtor’s principal residence. The Property is therefore not

part of the Bankruptcy Estate under 11 U.S.C. § 541.

      5.       Debtor’s Amended Chapter 13 Plan (see Docket Entry #15) and Amended Schedule

A/B (see Docket Entry #16) do not list the Property nor Movant’s claim.

      6.       Because of Debtor’s lack of any legal or equitable interest in the Property and lack

of personal liability to Movant, Movant contends there is no stay in effect as to Movant and the

Property.

      7.       Movant therefore requests an Order be entered confirming there is no stay in effect

as to Movant and the Property.

      8.       Alternatively, if the Court finds there is a stay in effect as to Movant and/or the

Property, Movant requests relief from the automatic stay and the co-debtor stay, based on Debtor’s

lack of treatment of Movant’s claim.

      9.       Movant's interest would also be irreparably harmed by the continuation of the co-

debtor stay.

      10.      Movant requests that in the event the Motion is granted, the Trustee be ordered to

cease funding any balance of Movant’s claim.

      11.      Movant requests that the provisions of Fed. R. Bankr. P 4001(a)(3) be waived.



       WHEREFORE, Movant requests this Court enter an Order confirming that no stay is in

effect as to Movant and the Property, or alternatively for relief from the automatic stay and the co-

debtor stay. Movant prays that the Order granting this Motion not be stayed until the expiration of
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10 days after its entry, in accordance with Bankruptcy Rule 4001, and for such other and further

relief as is just and equitable.




                                                    Evan Durkovic, Bar No.: 948332
                                                    Attorney for Movant
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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

  IN RE:                                                Case No. 22-56104-WLH

  BRITTNEY ANGELETTE WARNER,                            Chapter 13

                  Debtor.


                                  CERTIFICATE OF SERVICE
       This is to certify that on this day I electronically filed the foregoing Notice of Hearing and
Motion to Confirm There is No Stay in Effect as to Movant and Certain Real Property, or
Alternatively for Relief from the Automatic Stay and the Co-Debtor Stay using the
Bankruptcy Court’s Electronic Case Filing program, which sends a notice of this document and an
accompanying link to this document to the following parties who have appeared in this case under
the Bankruptcy Court’s Electronic Case Filing program:
 Stanley J. Kakol, Jr.                                Nancy J. Whaley
       I further certify that on this day I caused a copy of this document to be served via United
States First Class Mail, with adequate postage prepaid on the following parties set forth below at
the address shown for each.
 Brittney Angelette Warner                         Andrea Y Warner
 817 Tallowtree Lane                               817 Tallowtree Ln
 McDonough, GA 30252                               McDonough, GA 30252

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

 Dated: December 7, 2022
                                                Evan Durkovic, Bar No.: 948332
                                                Attorney for Movant
                                                Aldridge Pite, LLP
                                                Fifteen Piedmont Center
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